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 5   Attorneys for Plaintiff
     JAMES RUTHERFORD
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 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
11     JAMES RUTHERFORD, an               Case No.: 5:20-cv-01750-JGB-KK
12     individual,
                                          Hon. Jesus G. Bernal
13
       Plaintiff,
14                                        NOTICE OF VOLUNTARY
       v.                                 DISMISSAL WITHOUT PREJUDICE
15
                                          PURSUANT TO FEDERAL RULE OF
16     TOOLEY FAMILY LLC, a               CIVIL PROCEDURE 41(a)(1)(A)(i)
       California limited liability
17
       company; and DOES 1-10,            Complaint Filed: August 28, 2020
18     inclusive,                         Trial Date: None
19
       Defendants.
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                    NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 3   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
 4   without prejudice of Plaintiff’s Complaint in the above-entitled action. Each party
 5   shall bear his or its own costs and attorneys’ expenses.
 6
 7                                         Respectfully submitted,
 8
 9    DATED : October 29, 2020             MANNING LAW, APC

10                                         By: /s/ Joseph R. Manning, Jr.
                                             Joseph R. Manning, Jr.
11
                                             Attorney for Plaintiff
12                                           James Rutherford
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                  NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
